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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION



COMMUNITY LEGAL SERVICES IN EAST
PALO ALTO, et al.,

              Plaintiffs,

     v.                                  Case No. 3:25-cv-2847

UNITED STATES DEPARTMENT OF              SUPPLEMENTAL DECLARATION OF
HEALTH AND HUMAN SERVICES, et al.,       WENDY YOUNG (KIND) IN SUPPORT
                                         OF PLAINTIFFS’ MOTION FOR A
             Defendants.                 PRELIMINARY INJUNCTION




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               SUPPLEMENTAL DECLARATION OF WENDY YOUNG,
                   PRESIDENT OF KIDS IN NEED OF DEFENSE


I, Wendy Young, make the following statements on behalf of myself and KIND, Inc. Pursuant to
28 U.S.C. § 1746, I certify under penalty of perjury that the following statement is true and
correct.
   1. I incorporate my March 25, 2025 Declaration in Support of Plaintiffs’ Motion for a
      Temporary Restraining Order and Preliminary Injunction (Dkt. 7-18) as if fully set forth
      herein.
   2. My name is Wendy Young, and I am the President of KIND, Inc., doing business as Kids
      in Need of Defense (“KIND”). KIND is the leading international not-for-profit
      organization devoted to protecting the rights and well-being of unaccompanied and
      separated children. Founded in 2008, KIND grew to seventeen locations across the United
      States, providing legal services to unaccompanied immigrant children during and after their
      time in the custody of the Office of Refugee Resettlement (ORR) of the Department of
      Health and Human Services (HHS).
   3. KIND’s subcontract with Acacia Center for Justice, incepted in March 2022, supported the
      employment of legal services, psychosocial services, and program support professionals
      across KIND’s seventeen locations in the United States. These employees include lawyers
      representing child clients in their immigration matters and directing or delivering related
      services; paralegals supporting case work and delivering know-your-rights programs and
      legal screenings; lawyers providing training, practice guidance, and mentorship to pro bono
      attorneys who represent child clients; social work professionals delivering psychosocial
      services and referrals to child clients; and a range of employees supporting program
      operations through functions such as program management and support, pro bono
      partnership support, training, legal technical assistance, technology support, and data
      management. As of March 21, 2025, the subcontract supported approximately 350 full-
      time positions.
   4. When the Acacia contract was partially terminated with immediate effect, staff engaged to
      serve children under the subcontract were required to stop performing many key functions
      of their roles, and KIND was deprived of funding needed to support their employment.
      Accordingly, on March 27, 2025, KIND laid off over 240 staff members in legal services,
      psychosocial services, and other program support roles, whose last day of employment at
      KIND was March 31, 2025, and has informed additional staff of termination dates in the
      coming months. Absent restoration of the contract services and funding at March 20, 2025




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   levels, KIND will not only be unable to re-hire for the vacated positions, but also expects
   that the referenced additional layoffs will be necessary.
5. Because of the partial contract termination, KIND plans to consolidate the remaining
   operations of certain offices within a general region into a single location – specifically, a
   single location to house parts of the operations of KIND’s locations serving Northern
   Virginia, Baltimore, MD, and Washington, DC; and a single location to house the
   remaining programming of KIND’s New York and Newark locations. Also due to the
   partial contract termination, KIND expects to close several offices and reduce its footprint.

6. In connection with the loss of funding, the layoffs, and in anticipation of such office
   closures, KIND instructed staff to begin contacting thousands of clients who were being
   served under the contract to inform them that, due to a loss of funding, their KIND attorneys
   would be forced to seek permission to withdraw any appearances as counsel before
   immigration courts, state courts, and USCIS, and to end their legal services. KIND further
   instructed staff to begin preparing motions or requests to the relevant tribunals to substitute
   other counsel or to withdraw as counsel, where permitted by relevant rules of professional
   conduct. Meanwhile, KIND instructed staff to continue critical ongoing work necessary
   to fulfill professional responsibilities to clients, including meeting filing deadlines and
   attending scheduled hearings and administrative interviews with clients.

7. In parallel, KIND asked experienced pro bono partners and community partners to take
   over cases from KIND. Initial efforts resulted in placing a small fraction of the thousands
   of clients whose lawyers are no longer employed with KIND, with efforts continuing.
   KIND attributes the limited number of placements to several factors. Most pro bono
   attorneys whose primary practice area is not immigration law will prefer to receive a high
   degree of training and mentorship, due to the complexity of children’s immigration matters
   and the additional challenges of serving a client who is a child. The cutbacks of services
   associated with the partial contract termination have severely curtailed KIND’s staffing for
   pro bono recruiting and mentorship, in turn limiting the availability of one-on-one
   mentorship on which pro bono attorneys have relied. At the same time, with the advent of
   more restrictive immigration policies, demand for free immigration legal services is
   surging, so pro bono attorneys and immigration nonprofits offering free legal services face
   increased demands on their available time.

8. In the 60 days between this date and June 2, 2025, over 300 clients served through KIND
   are scheduled to attend hearings or interviews, including both master calendar and merits
   hearings in immigration court, asylum interviews with USCIS, and state court appearances
   in matters relating to guardianship, custody, or dependency. Due to the partial contract
   termination and ensuing layoffs at KIND, many of these clients must prepare for and attend
   these events with an unfamiliar attorney taking the place of a longstanding attorney. The


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       precipitous partial termination of the contract afforded little time for clients’ final
       communications with departing counsel and acclimation to substitute counsel. Such
       disruption of continuity compounds the uncertainty around an already stressful event, and
       burdens a child’s efforts to participate in proceedings to the best of their ability.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 4th of April 2025, in Falls Church, Virginia.


       /s/ Wendy Young
Wendy Young
President
Kids in Need of Defense




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